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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION


UNITED STATES OF AMERICA

VS.                                    CRIMINAL NO. 3:12-cr-88(DCB)(FKB)
                                        CIVIL ACTION NO. 3:15-cv-85(DCB)

WILLIE EARL CULLEY                                                    DEFENDANT


                     MEMORANDUM OPINION AND ORDER

      This   cause   is   before     the   Court   on   Willie      Earl   Culley

(“Culley”)’s Motion to Vacate Under 28 U.S.C. § 2255 (docket entry

350).   Having carefully considered the motion and the Government’s

response, as well as the arguments of counsel and the applicable

law, and being fully advised in the premises, the Court finds as

follows:

      On August 21, 2012, Culley was charged with Conspiracy to

Possess with Intent to Distribute more than 500 grams of cocaine

hydrochloride and cocaine base, commonly referred to as “crack,” in

a multi-defendant multi-count superseding indictment.                Following a

detention hearing held on September 27, 2012, Culley was detained

without bond.    On November 28, 2012, the defendant pleaded guilty

to conspiracy to possess with intent to distribute 500 grams or

more of cocaine hydrochloride and cocaine base.              On July 9, 2013,

Culley was sentenced to serve a term of 57 months followed by 4

years supervised release, a partial fine of $1,500.00, and $100

special assessment. The defendant filed a Notice of Appeal on July

16, 2013 (docket entry 248).         A second Notice of Appeal was filed
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on July 19, 2013 (docket entry 252).          On September 23, 2013 the

defendant filed a Motion for Reconsideration of Sentence (docket

entry 272).   On September 25, 2015, he filed a Motion to Dismiss

the Appeals he had filed July 16 and 19, 2013 (docket entries 273

and 274). United States Magistrate Judge F. Keith Ball granted the

motion to dismiss the appeals on September 25, 2013 (minute entry

of September 25, 2015).

     This Court, on October 15, 2013, also entered an Order

granting Culley’s motion to withdraw his notices of appeal (docket

entry 277).    On December 13, 2013, this Court denied Culley’s

Motion for Reconsideration of Sentence (docket entry 302).                    On

December 27, 2013, the defendant filed a Notice and Motion to

Modify the Stay of Appeal (docket entries 305 and 306). This Court

denied the motion on August 13, 2014 (docket entry 320).                  The

defendant’s appeal was dismissed by the 5th Circuit Court of

Appeals on November 13, 2014 (docket entry 334).

     The defendant’s sentence was reduced to 46 months on December

2, 2014, pursuant to 18 U.S.C. § 3582(c)(2) (docket entry 343). On

October 30, 2015, the defendant began his term of supervised

release.   The term of supervised release is scheduled to conclude

on October 29, 2019.

     The defendant filed a Motion to Vacate pursuant to 28 U.S.C.

§ 2255 on February 9, 2015 (docket entry 350).         On May 20, 2015 he

filed a Motion for Federal Benefits, Motion to Modify Supervised


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Release and a Motion for Criminal Complaint under False Information

[docket entries 363, 364 and 365). On November 5, 2015, this Court

entered an order directing the Government to respond to Docket

Entries 338, 346, 350, 363, 364 and 365.       The Government complied

with the order on December 4, 2015.       In addition, the Government

requested an extension of time to respond to Docket Entry 350, and

requested an affidavit from Culley’s former counsel.             The Court

granted the requests and ordered that the Government’s response

would be due 30 days after receipt of Culley’s former counsel’s

affidavit (docket entry 396).

     The Government submitted its response to Docket Entries 338,

346, 363, 364 and 365 on December 4, 2015.         The Court entered an

Order on April 4, 2016, regarding Docket Entries 338, 346, 363, 364

and 365.    On May 27, 2016, the Court entered an Order requesting

the Government to advise how it wished to proceed regarding the

defendant’s Motion in Docket Entry 350.          On June 1, 2016, the

Government requested an affidavit from Culley’s prior counsel,

Terrence High.   On June 3, 2016, an affidavit was received and the

Court entered an order requiring a response to the defendant’s

Motion to Vacate by June 20, 2016.      The Government responded and

the Motion to Vacate Under 28 U.S.C. § 2255 is now ready for

decision.

     In his Motion to Vacate, Culley claims that the Government

breached the plea agreement by failing to recommend that he be


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sentenced in the lower 25% of the recommended Sentencing Guideline

range.    He further claims that his counsel failed to object “when

the Government breached its plea agreement with Defendant when it

failed to make its recommendation” and that his counsel was

therefore ineffective (docket entry 350, p. 2).                     However, the

defendant has not made the requisite showing to satisfy the two-

part test as required in Strickland v. Washington, 466 U.S. 668

(1984).

       The defendant’s burden in an ineffective assistance of counsel

claim is high.       “To succeed on any claim of ineffective assistance

of    counsel,   a   defendant    must   show    that:   (1)   the    attorney’s

representation fell below an objective standard of reasonableness,

and (2) there is a reasonable probability that except for the

attorney’s unprofessional errors, the result of the proceeding

would have been different.” United States v. Kinsey, 917 F.2d 181,

183 (5th Cir. 1990)(citing Strickland v. Washington, 466 U.S. 668,

687-688 (1984); accord, Miller v. Johnson, 200 F.3d274, 282 (5th

Cir.) cert. denied, 531 U.S. 849 (2000). Merely demonstrating that

defense counsel has made an error is not enough.                     An error by

counsel, even if professionally unreasonable, does not warrant

setting aside the judgment of a criminal proceeding if the error

had no effect on the judgment.       Strickland, 466 U.S. at 691.            Thus,

any deficiencies in counsel’s performance must be prejudicial to

the defense in order to constitute ineffective assistance under the


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Constitution.     Id. at 692.

        In order to establish prejudice, a convicted defendant must

show that there is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would be

different. A reasonable probability is a probability sufficient to

undermine confidence in the outcome.           Id. at 694; accord, Smith v.

Puckett, 907 F.2d 581, 584-585 (5th Cir. 1990).                      A failure to

establish either of the Strickland prongs makes it unnecessary to

examine the other.     Buxton v. Lynaugh, 879 F.2d 140, 142 (5th Cir.

1989), cert. denied , 497 U.S. 1032 (1990).

        [A] court need not determine whether counsel’s
        performance was deficient before examining the prejudice
        suffered by the defendant as a result of the alleged
        deficiencies. The object of an ineffectiveness claim is
        not to grade counsel’s performance. If it is easier to
        dispose of an ineffectiveness claim on the ground of lack
        of sufficient prejudice, which we expect will often be
        so, that course should be followed.

Strickland, 466 U.S. at 697.       Culley’s complaint about his counsel

lacks     merit   because   he   has    not   demonstrated       his     counsel’s

performance was deficient.        In addition, the defendant put forth

the same argument in his appeal to the Fifth Circuit Court of

Appeals, which was dismissed on October 17, 2014.                    The issue was

reviewed for plain error.              See Docket Entry 334, p.2.               The

Appellate Court found that the Government’s recommendation was

incorporated into the presentence report, and that the Government

did not breach the plea agreement.            Id.   The defendant’s claim is

not cognizable under § 2255 because it was raised and disposed of

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in a previous direct appeal. See United States v. Kalish, 780 F.2d

506, 508 (5th Cir. 1986); accord United States v. Goudeau, 2013 WL

586890, *3 (5th Cir. Feb. 7, 2013)(per curiam)(holding § 2255 claim

was not cognizable when petitioner raised same issue on direct

appeal).

        Attorney Terrence High prepared an affidavit in response to

the defendant’s statements in his Motion to Vacate.                    See Affidavit

of Terrence High, attached as Exhibit 1 to Government’s Response

(docket entry 408).          Attorney High states that he never told the

defendant that he would object if the Court or the U.S. Attorney

recommended a sentence at the top of the guideline range.                     Id. at

p. 4.     Mr. High maintains that he advised the defendant that the

Court was not bound by the plea agreement, and that it could

sentence the defendant within the applicable guideline range, above

or below the guideline range.            Id., pp. 4-5.      Mr. High states that

he further counseled the defendant, advising him that the Court

could accept or reject the recommendation of the Government. Id.,

p. 5.

        Culley’s    Motion     to   Vacate    is   based    on   his    ineffective

assistance    of     counsel    claim.        He   claims   that   his    counsel’s

performance “fell below an objective standard of reasonableness,”

and that “there is a reasonable probability that, but for counsel’s

unprofessional errors the result of the proceeding would have been

different.”        Motion to Vacate, p. 11.          The Government has shown,


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however, that Culley’s counsel’s performance was not deficient, and

that Culley did not suffer prejudice as a result of any alleged

deficiencies of counsel.       In addition, Culley’s arguments were

previously addressed by the Fifth Circuit in the defendant’s failed

appeal and cannot be reconsidered in a Section 2255 motion.              The

Court therefore finds that Culley’s Section 2255 Motion to Vacate

shall be denied.

     ACCORDINGLY,

     IT IS HEREBY ORDERED that Willie Earl Culley’s Motion to

Vacate pursuant to 28 U.S.C. § 2255 (docket entry 350) is DENIED.

     A   final   judgment   shall   issue   forthwith,    dismissing     the

petitioner’s habeas claim with prejudice.

     Because the Court concludes that a reasonable jurist would not

find its assessment of the aforementioned constitutional claims

debatable or wrong, IT IS FURTHER HEREBY ORDERED that a Certificate

of Appealability (COA) is DENIED.       See Slack v. McDaniel, 529 U.S.

473, 484 (2000).

     SO ORDERED, this the 28th day of October, 2016.



                                        /s/ David Bramlette
                                        UNITED STATES DISTRICT JUDGE




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